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AO 199A(Rev. 12/1 1) Order Setting Conditions of Release



                                                                                                            MAR 2 6 2021
                                    United States District Codr;
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                                                                     for the                     II     IK. NORTOLK.
                                                                                                               Ulb IHICT
                                                                                                                      wa COURT
                                                           Eastern District of Virginia


                 United States of America                              )
                               V.                                      )
                                                                       )         Case No. 2:21mi74
                  Eric V. Von Bernewitz                                )
                         Defendant                                     )


                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

        (1)         The defendant must not violate federal, state, or local law while on release.

        (2)         The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. §
                    14135a.


        (3)         The defendant must advise the court or the pretrial services office or supervising officer in writing before
                    making any change of residence or telephone number.

         (4)       The defendant must appear in court as required and, if convicted, must surrender as directed to serve a
                   sentence that the court may impose.


                    The defendant must appear at: U.S. District Court for the District of Columbia,333 Constitution Ave
                    NW,Washington,DC 20001 Via VTC on                          March 31,2021 at 1:00 p.m.
                                                                      Date and Time




IT IS FURTHER ORDERED that the defendant be released on condition that:


         (5)       The defendant promises to appear in court as required and surrender to serve sentence imposed.

         (6)       The defendant executes a ("$ PERSONAL RECOGNIZANCE ") Unsecured Bond binding the defendant to
                   pay to the United States for failure to appear as required or surrender to serve any sentence imposed.
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AO I99B (Rev. 12/11) Additional Conditions of Release                                                                                                   Page 2 of3

                                                    ADDITIONAL CONDITIONS OF RELEASE

       IT IS FURTHER ORDERED that the defendant's release Is subject to the conditions marked below:

( )(6)        The defendant is placed in the custody of:
              Person or organization
              Address (only ifabove is an organization),
              City and state                                                                            Tel. No.
who agrees to(a)supervise the defendant,(b)use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                  Signed:
                                                                                            Custodian                                Date
( X )(7)      The defendant must:
     (X ) (a)submit to supervision by and report for supervision to the           United States Probation Office
                    telephone number 757-222-7300, no later than (date of release) TODAY
     ( ) (b) continue or actively seek employment.
     ( ) (c) surrender any passport to:
     ( ) (d) not obtain a passport or other international travel document.
     (X) (e) abide by the following restrictions on personal association, residence, or travel: Travel restricted to Continental United States unless
                    prior approval received from Probation
     (     )(f) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including:
     ( ) (g) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                    necessary.
     ( ) (h) not possess a firearm, destructive device, or other weapon.
     ( ) (i) not use alcohol( )at all( )excessively.
     ( ) (j) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C.§ 802, unless prescribed by a licensed
                    medical practitioner.

     ( ) (k) submit to testing for alcohol/prohibited substance if required by the pretrial services office or supervising officer. Testing may be used
             with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                    prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                    of prohibited substance screening or testing.
     ( ) (!) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
     ( )(m) participate in one ofthe following location restriction programs and comply with its requirements as directed.
          ( )(i) Curfew. You are restricted to your residence every day( )from                        to          ,or( )as
                    directed by the pretrial services office or supervising officer; or
                   ( )(ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                   medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                    approved in advance by the pretrial services office or supervising officer; or
                   ( )(iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and court
                    appearances or other activities specifically approved by the court.
     ( ) (n) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                    requirements and instructions provided.
                   ( ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                   supervising officer.
     ( ) (o) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                arrests, questioning, or traffic stops.
         X)(d1. Defendant not to enter D.C. with exception of court appearances, attomev meetings or meetings with pretrial services.
         X )(q) Defendant to advise Probation ofanv travel.
         X) (r) Defendant to maintain wceklv contact with Probation.
         X) (s) Defendant directed to participate in all future court proceedings.
           ) (t)
           ) (u)
           ) (V)
           )(w)
           )(X)
           ) (y)
           ) (z)
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AO I99C (Rev. 09/08) Advice of Penalties                                                                                                     Page3of3

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT;


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
      It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or infonnant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim,juror, informant, or officer ofthe court. The penalties for tampering, retaliation, or
 intimidation are significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
      (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
            not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
            more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

        1 acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
 set forth above.




                                                                                                     'C—
                                                                                                               Defeivianl 's Signature



                                                                                                 ^                 City and Stale        i


                                               Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
    defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
    produced before the appropriate judge at the time and place specified.
                                                                                                         /5/
                                                                              Lawrence R. Leonard
 Date: March 25,2021                                                       —United States Magistrate. Judge
                                                                                                Jiiaicial Officer's Signciltire

                                                                           UNITED STATES MAGISTRATE JUDGE
                                                                                                  Tide



                    DISTRIBUTION:      COURT    DEFENDANT       PRETRIAL SERVICE         U.S. ATTORNEY           U.S. MARSHAL
